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                   UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF TEXAS
                       FORT WORTH DIVISION

     STATE OF TEXAS,

          Plaintiff,

     v.                                                 No. 4:21-cv-0579-P

     JOSEPH R. BIDEN, JR. ET AL.,

          Defendants.

                                    ORDER
       Before the Court is the Government’s Notice of New CDC Order. ECF
    No. 101. This filing gives notice that “the treatment of unaccompanied
    children under Title 42 is now governed solely by CDC’s new order
    terminating the prior Title 42 orders as to the unaccompanied children
    based on CDC’s most recent public-health assessment.” Id. at 3.

          Given this new dynamic, the Court has questions regarding what
    issues, if any, remain before it and the status of this lawsuit as a whole.
    The Court therefore ORDERS the Parties to file a Joint Status Report
    on or before March 18, 2022, at 5:00 p.m. appraising the Court of any
    remaining issues and next steps in this litigation.

          SO ORDERED on this 14th day of March, 2022.




                       Mark T. Pittman
                       UNITED STATES DISTRICT JUDGE
